                    Case 22-50343                  Doc 3     Filed 08/04/22 Entered 08/04/22 16:03:41                 Desc Main
                                                                Document Page 1 of 7


 Fill in this information to identify your case:

  Debtor 1                 Gordon                  Eugene             Clem, Jr
                                                                                                                     ❑ Check if this is an amended
                                                                                                                         plan, and list below the
                           First Name              Middle Name       Last Name                                           sections of the plan that
  Debtor 2                 Robin                   Sue                Clem                                               have been changed.
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Virginia

  Case number
  (if known)


Official Form 113
Chapter 13 Plan                                                                                                                                 12/17

Part 1: Notices



To Debtors:         This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                    indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do
                    not comply with local rules and judicial rulings may not be confirmable.

                    In the following notice to creditors, you must check each box that applies.

To Creditors:       Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                    You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                    an attorney, you may wish to consult one.
                    If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                    confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                    Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy
                    Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.
                    The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                    plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
                    provision will be ineffective if set out later in the plan.


  1.1     A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial        ❑ Included        ✔ Not Included
                                                                                                                                   ❑
          payment or no payment at all to the secured creditor

  1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out            ❑ Included        ✔ Not Included
                                                                                                                                   ❑
          in Section 3.4

  1.3     Nonstandard provisions, set out in Part 8                                                              ✔ Included
                                                                                                                 ❑                 ❑ Not Included

Part 2: Plan Payments and Length of Plan


2.1 Debtor(s) will make regular payments to the trustee as follows:

         $2,600.00          per month          for     60   months.

    If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments
    to creditors specified in this plan.
                Case 22-50343            Doc 3      Filed 08/04/22 Entered 08/04/22 16:03:41                        Desc Main
                                                       Document Page 2 of 7
2.2 Regular payments to the trustee will be made from future income in the following manner:
   Check all that apply.
   ❑ Debtor(s) will make payments pursuant to a payroll deduction order.
   ❑ Debtor(s) will make payments directly to the trustee.
   ✔ Other (specify method of payment):
   ❑                                                       TFS                      .


2.3 Income tax refunds.
   Check one.
   ✔ Debtor(s) will retain any income tax refunds received during the plan term.
   ❑
   ❑ Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will
        turn over to the trustee all income tax refunds received during the plan term.
   ❑ Debtor(s) will treat income tax refunds as follows:

2.4 Additional payments.
   Check one.
   ✔ None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
   ❑
2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is       $156,000.00

Part 3: Treatment of Secured Claims


3.1 Maintenance of payments and cure of default, if any.
   Check one.
   ✔
   ❑    None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.


3.3 Secured claims excluded from 11 U.S.C. § 506.
   Check one.

   ❑ None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
   ✔ The claims listed below were either:
   ❑
         (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired
             for the personal use of the debtor(s), or
         (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

         These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the
         trustee or directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of
         claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of
         a contrary timely filed proof of claim, the amounts stated below are controlling. The final column includes only payments disbursed by
         the trustee rather than by the debtor(s).
                  Case 22-50343                Doc 3   Filed 08/04/22 Entered 08/04/22 16:03:41                        Desc Main
                                                          Document Page 3 of 7
         Name of Creditor / Collateral                     Amount of claim         Interest rate Monthly plan payment            Estimated total
                                                                                                                                 payments by
                                                                                                                                 trustee

          Midway Federal CU                                           $9,210.00        4.25%                Mo. 1 - 9, $90.00         $10,006.32
                                                                                                         Mo. 10 - 60, $180.32
         Collateral
         2011 BMW 328IX                                                                              Disbursed by:
         Note: Not running                                                                           ✔ Trustee
                                                                                                     ❑
                                                                                                     ❑ Debtor(s)
         Insert additional claims as needed.


3.4 Lien Avoidance
   Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.
   Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

Part 4: Treatment of Fees and Priority Claims


4.1 General

   Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
   without postpetition interest.

4.2 Trustee’s fees

   Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 10.00% of plan payments;
   and during the plan term, they are estimated to total $15,138.48 .


4.3 Attorney’s fees

   The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,750.00 .


4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
   Check one.

   ❑ None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
   ✔ The debtor(s) estimate the total amount of other priority claims to be $24,500.00
   ❑                                                                                             .


4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
   Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

Part 5: Treatment of Nonpriority Unsecured Claims


5.1 Nonpriority unsecured claims not separately classified.
                 Case 22-50343           Doc 3      Filed 08/04/22 Entered 08/04/22 16:03:41                       Desc Main
                                                       Document Page 4 of 7
   Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
   providing the largest payment will be effective. Check all that apply.

   ❑    The sum of                   .

   ✔
   ❑        100.00%      of the total amount of these claims, an estimated payment of     $96,990.00       .

   ❑    The funds remaining after disbursements have been made to all other creditors provided for in this plan.

        If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately    $0.00
        . Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3 Other separately classified nonpriority unsecured claims. Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

Part 6: Executory Contracts and Unexpired Leases


6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
and unexpired leases are rejected. Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

Part 7: Vesting of Property of the Estate


7.1 Property of the estate will vest in the debtor(s) upon
   Check the applicable box:

   ✔
   ❑    plan confirmation.

   ❑    entry of discharge.

   ❑    other:                                                           .

Part 8: Nonstandard Plan Provisions


8.1 Check “None” or List Nonstandard Plan Provisions

   ❑    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included
in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.

   A. Treatment and Payment of Claims:
   The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.

   B. Date Debtor(s) to Resume Regular Direct Payments to Creditors that are being Paid Arrearages by the Trustee under Paragraph 3.1
   and 6.1:
   N/A
              Case 22-50343            Doc 3       Filed 08/04/22 Entered 08/04/22 16:03:41                          Desc Main
                                                      Document Page 5 of 7
C. Other:
*NOTE REGARDING TREATMENT AND PAYMENT OF CLAIMS: --All creditors must timely file a proof of claim to receive any payment from
the Trustee. --If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely object to
confirmation of the Plan, the creditor may be treated as unsecured for purposes of distribution under the Plan. This paragraph does not limit
the right of the creditor to enforce its lien, to the extent not avoided or provided for in this case, after the debtor(s) receive a discharge. --If a
claim is listed in the Plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the creditor will be treated as
unsecured for purposes of distribution under the Plan. --The Trustee may adjust the monthly disbursement amount as needed to pay an
allowed secured claim in full.

C2. Other:
*NOTE REGARDING PARTS 3.2 AND 3.3 [ADEQUATE PROTECTION PAYMENTS: The debtors propose to make adequate protection
payments other than as provided in Local Rule 4001-2. Unless otherwise provided herein, the monthly payment amounts listed in Parts 3.2
and 3.3 of this Chapter 13 Plan will be paid as adequate protection beginning prior to confirmation to the holders of allowed secured claims.

C3. Other:
*NOTE REGARDING PART 3.1: POST-PETITION MORTGAGE FEES: Any fees, expenses, or charges accruing on claims set forth in
paragraph 3.1 or 8.1 of this Plan which are noticed to the debtor pursuant to Bankruptcy Rule 3002.1(c) shall not require modification of the
debtor's plan to pay them. Instead, any such fees, expenses, or charges shall, if allowed, be payable by the debtor outside the Plan unless
the debtor chooses to modify the plan to provide for them.

C4. Other:
*NOTE REGARDING PART 3.5 (SURRENDER OF COLLATERAL): Any unsecured proof of claim for a claim of deficiency that results from
the surrender and liquidation of collateral noted in Part 3.5 of this Plan must be filed by the earlier of the following or such claim shall be
forever barred: (1) within 180 days of the date of the first confirmation order confirming a plan providing for the surrender of said collateral,
(2) within the time period for the filing of an unsecured deficiency claim as established by any Order granting relief from the automatic stay
with respect to said collateral. Said unsecured proof of claim for a deficiency must include appropriate documentation establishing that the
collateral surrendered has been liquidated, and the proceeds applied, in accordance with applicable state law.

D. Debtor(s)' Attorney's Fees:
Out of the total fee of $4,750.00, the amount of $4,750.00 in Debtor(s)' attorney's fees shall be paid by the Chapter 13 Trustee, broken down
as follows: (i) $4,750.00: Fees to be approved, or already approved, by the Court at initial plan confirmation; (ii) $0.00: Additional
pre-confirmation or post-confirmation fees already approved by the Court by separate order or in a previously confirmed modified plan; (iii)
$0.00: Additional post-confirmation fees being sought in this modified plan, which fees will be approved when this plan is confirmed.

E. Trustee to make contract payments and cure arrears, if any:
Pursuant to Part 3.1, the Trustee shall pay the designated post-petition mortgage payments through the plan. These mortgage payments
shall be classified and paid as follows: (1) Pre-petition Arrears: The prepetition arrears are $__________. (2) GAP Payments: The first three
post-petition mortgage payments shall be disbursed pro-rata by the Trustee as post-petition arrears, including late fees, in the approximate
amount of $__________, for the months of ______________ through and including _____________. (3) Other Post-petition Arrears: The
following additional post-petition default shall be cured and disbursed by the Trustee, approximately, $_______________, for the months of
__________ through and including ____________. (4) Ongoing Payments: The regular post-petition mortgage payments shall be disbursed
by the Trustee beginning with the mortgage payment due for the month of ______________, and continuing for approximately _____
months; the total number of such payments to be made by the Trustee will usually equal the number of monthly plan payments being made
by the Debtor(s) to the Trustee, unless the plan pays off early. (5) Disbursement of ongoing post-petition mortgage payments from the
Chapter 13 Trustee may not begin until an allowed claim on behalf of the mortgagee has been filed. At the completion of the term of the plan,
it is predicted that the Debtor(s) shall resume monthly mortgage payments directly pursuant to the terms of the mortgage contract beginning
with the payment due in (month), (year).

F. Enrollment into Income Driven Repayment During Chapter 13 Plan
Eligibility to Enroll in IDR Plan During Bankruptcy. The Debtor shall not be disqualified due to this bankruptcy filing or the pending bankruptcy
case from participation in any income-driven repayment ("IDR") plan for student loan debt or any non-bankruptcy option for getting out of
default for which Debtor would otherwise be qualified. The Debtor shall request a plan modification upon any enrollment in an IDR plan. In
the absence of a plan modification, the plan provides for the Debtor's student loan debt under the applicable provisions of Part 5 or as
otherwise stated in any nonstandard provisions in Part 8. Dischargeability of Student Loan Debt. This plan does not provide for the discharge
of any portion of the Debtor's federal student loan debt(s) under title 11, but it does not preclude a determination of dischargeability in an
adversary proceeding. Waiver of Automatic Stay. The Debtor expressly waives the application of the automatic stay under §362(a) as to all
communications concerning enrollment or participation in an IDR plan as to all loan servicing and administrative actions concerning an IDR
plan to the extent necessary to effectuate this Chapter 13 plan. Direct payments. Any direct payments made from the Debtor since the filing
of the petition shall be applied to any IDR plan in which the Debtor was enrolled pre-petition, including but not limited to the Public Service
Loan Forgiveness program, or pursuant to applicable federal regulations.
                 Case 22-50343           Doc 3      Filed 08/04/22 Entered 08/04/22 16:03:41                       Desc Main
                                                       Document Page 6 of 7
   G. Continuation of Existing Income Driven Repayment Agreements
   The plan provides in Paragraph 5 for the debtor to maintain income-driven repayment ("IDR") plan payments for student loan debt. The
   Debtor shall not be disqualified due to this bankruptcy filing or the pending bankruptcy case from participation in any IDR plan for which
   Debtor would otherwise be qualified. Annual Certification and Payment Adjustment. The Debtor shall annually certify (or as otherwise
   required by the student loan lender or servicer) the Debtor's income and family size to the extent required by the IDR plan. Dischargeability
   of Student Loan Debt. This plan does not provide for the discharge of any portion of the Debtor's federal student loan debt(s) under title 11,
   but it does not preclude a determination of dischargeability in an adversary proceeding. Waiver of Automatic Stay. The Debtor expressly
   waives the application of the automatic stay under §362(a) as to all communications concerning the IDR plan and as to all loan servicing and
   administrative actions concerning the IDR plan to the extent necessary to effectuate this Chapter 13 plan. Direct payments. Any direct
   payments made from the Debtor since the filing of the petition shall be applied to any IDR plan in which the Debtor was enrolled pre-petition,
   including but not limited to the Public Service Loan Forgiveness program, or pursuant to applicable federal regulations.

   H. Income Driven Repayment Plan for Student Loans
   The Debtor shall be allowed to seek enrollment, or to maintain any pre-petition enrollment, in any applicable income-driven repayment
   (“IDR”) plan with the U.S. Department of Education William D. Ford Federal Direct Loan Program, including but not limited to the Public
   Service Loan Forgiveness program, without disqualification due to his/her bankruptcy, if otherwise eligible under Federal law. Any direct
   payments made from the Debtor to Ed since the filing of her petition shall be applied to any IDR plan in which the Debtor was enrolled
   prepetition, including but not limited to the Public Service Loan Forgiveness program, or pursuant to applicable federal regulations. The
   Department of Education, servicers, or guarantors shall not be required to allow enrollment in any IDR unless the Debtor otherwise qualifies
   for such plan. During the pendency of any application by the Debtor to consolidate his/her student loans, to enroll in an IDR, direct payment
   of her student loans under an IDR, or during the pendency of any default in payment of the student loans under an IDR, it shall not be a
   violation of the stay or other State or Federal Laws to send the Debtor normal monthly statements regarding payments due and other
   communications including, without limitation, notices of late payments or delinquency. These communications may expressly include
   telephone calls and e-mails.

Part 9: Signature(s):


9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the
Debtor(s), if any, must sign below.



     ✘ /s/ Gordon Eugene Clem, Jr                                        ✘ /s/ Robin Sue Clem
         Gordon Eugene Clem, Jr                                              Robin Sue Clem
         Signature of Debtor 1                                               Signature of Debtor 2
         Executed on      08/03/2022                                         Executed on      08/03/2022
                       MM/ DD/ YYYY                                                        MM/ DD/ YYYY




     ✘                  /s/ Janice Hansen                                      Date                08/03/2022
         Signature of Attorney for Debtor(s)                                          MM / DD / YYYY



By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.
                 Case 22-50343            Doc 3       Filed 08/04/22 Entered 08/04/22 16:03:41                    Desc Main
                                                         Document Page 7 of 7
Exhibit: Total Amount of Estimated Trustee Payments

The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set out
below and the actual plan terms, the plan terms control.

      a.   Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                  $0.00

      b.   Modified secured claims (Part 3, Section 3.2 total)                                                                          $0.00

      c.   Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                               $10,006.32

      d.   Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                           $0.00

      e.   Fees and priority claims (Part 4 total)                                                                                $44,388.48

      f.   Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                              $96,990.00

      g.   Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                $0.00

      h.   Separately classified unsecured claims (Part 5, Section 5.3 total)                                                           $0.00

      i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                     $0.00

      j.   Nonstandard payments (Part 8, total)                                                                           +             $0.00

           Total of lines a through j                                                                                            $151,384.80
